            Case 5:21-cv-00284-TES Document 1 Filed 08/09/21 Page 1 of 8




                 UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF GEORGIA
                      MACON DIVISION


SUSANNA NORTHERN                   )
                                    )
     Plaintiff,                     )
                                    )    CIVIL ACTION FILE
v.                                  )    NO.
                                    )
                                   )
KRYSTAL RESTAURANTS, LLC            )
                                    )
     Defendant.                     )
__________________________________________


              COLLECTIVE ACTION COMPLAINT FOR
              VIOLATIONS UNDER THE FAIR LABO R
                      STANDARDS ACT


         COMES NOW, Plaintiff Susanna Northern (hereinafter “Plaintiff”), by and

   through her undersigned counsel, and files this lawsuit against Krystal Restaurants,

   LLC (hereinafter “Defendant”) for herself and all others similarly situated, pursuant

   to §216(b) of the Fair Labor Standards Act (hereinafter “FLSA” or “Act”) and for

   this cause of action to obtain the liability due to Plaintiff(s) under the Act.

   Specifically, Plaintiffs seek the liability owed for minimum wage and overtime

   compensation violations, including an equal amount in liquidated damages, and an

   award for reasonable attorneys’ fees and costs pursuant to 29 U.S.C. §216(b) of the
          Case 5:21-cv-00284-TES Document 1 Filed 08/09/21 Page 2 of 8



Act.

   I.      Parties

   1. Plaintiff resides in Houston County, Georgia. Her consent to join this case is

        attached as Exhibit “A”

   2. Defendant Krystal Restaurants, LLC is foreign limited liability company

        registered with the Georgia Secretary of State and operates fast food restaurants

        in several states including Georgia. Defendant’s registered agent in Georgia is

        located at 289 S Culver St, Lawrenceville, GA, 30046-4805.

   3. Defendant has approximately 300 locations in the United States including the

        States of Georgia, Alabama, Arkansas, Florida, Kentucky, Louisiana,

        Mississippi, South Carolina, and Tennessee.

   4. This action is brought pursuant to the FLSA, 29 U.S.C. §201 et seq. and

        specifically the collective action provision of the Act found at §216(b), for

        equitable and injunctive relief and to remedy violations of the wage provisions

        of the FLSA by Defendant which have deprived Plaintiff, as well as others

        similarly situated to Plaintiff, of their lawful wages.

   5. This action is brought to recover unpaid compensation, in the form of

        overtime compensation, owed to the Plaintiff and all current and former

        General Managers of Defendant, and/or the Defendant’s predecessor in

        interest, employed within the last three years, who are similarly situated,
     Case 5:21-cv-00284-TES Document 1 Filed 08/09/21 Page 3 of 8



   pursuant to the FLSA

6. For at least three years prior to filing this Complaint, Defendant, and/or the

   Defendant’s predecessor in interest, has had a uniform policy and practice of

   consistently requiring its General Managers to work over 50 hours a week for

   a salaried amount without overtime compensation

7. This Court has subject matter jurisdiction over this action pursuant to 28

   U.S.C. §1331.

8. Venue is proper in the United States District for the Middle District of Georgia

   pursuant to 28 U.S.C. §1391 as the Plaintiff lives in the Middle District of

   Georgia and her place of employment was located in Byron, Peach County,

   Georgia.

9. Defendant is subject to personal jurisdiction in the state of Georgia for the

   purpose of this lawsuit.

10.At all times material to this action, Defendant and its locations operated

   together as single enterprise engaged in commerce or in the production of

   goods for commerce as defined by 29 U.S.C. §203(s)(1) of the FLSA and

   has an annual gross volume of sale in excess of five-hundred thousand dollars

   ($500,000.00).

11. At all times material to this action Defendant was the employer of Plaintiff

   as defined by 29 U.S.C. §203(d) of the FLSA.
        Case 5:21-cv-00284-TES Document 1 Filed 08/09/21 Page 4 of 8



12. At all times material to this action Plaintiff was an employee of the

      Defendant as defined by 28 U.S.C. §203 of the FLSA.

13. At all times material to this action, Defendants employed Plaintiff, including

      suffering permitting Plaintiff to work as defined by 29 U.S.C. §203(g).

II.      Facts

14. Plaintiff worked for Defendant or its predecessors from March 16, 2020 until

      January 4, 2021 with the title of “manager” for a Krystal Restaurants, LLC

      location in Byron, Peach County, Georgia. Prior to March 16, 2020 she worked

      as an hourly employee for the Defendant or their predecessors.

15. Krystal Restaurants LLC began operating the Krystals’ restaurants including

      the location where the Plaintiff worked in May of 2020.

16. When Plaintiff was “promoted” to store manager she was told she would

      receive a salary of $46,000 and no further overtime. Plaintiff’s managerial

      duties were non-existent or extremely minimal as compared to other non-

      managerial job duties regularly performed. The General Managers, including

      Plaintiff, perform minimal, if any, managerial duties. All, or nearly all, of their

      time is spent performing non-managerial functions, including, but not limited

      to the following: cooking, cleaning, running registers, waiting on tables,

      greeting customers, washing dishes and stocking inventory

17. Despite her title as store manager she had no supervisory duties, other than
     Case 5:21-cv-00284-TES Document 1 Filed 08/09/21 Page 5 of 8



   preparing work schedules.

18. Plaintiff had no authority to hire, discipline or fire employees of the

   Defendant.

19. Plaintiff did not exercise discretionary power.

20. Plaintiff did not give input into personal matters.

21. Plaintiff’s primary duties were not management.

22. During her employment with the Defendants, Plaintiff was required to work

   a minimum of 60 hours a week and some weeks worked more.

23. Plaintiff was on call twenty-four hours per day, seven days per week and

   often had to head back to the place of her employment when another worker

   did not show up for a shift.

24. Plaintiff and all similarly situated Managers’ primary duty does not consist

   of the management of the location where they work; rather, that responsibility

   was left to the District Manager or Regional Vice President

          Causes of Action Pursuant to the Fair Labor Standards Act

25. Plaintiff adopts by reference each and every material averment contained

   paragraphs 1through 24 above as if fully set forth herein.

26. Defendant’s pay practices violated the FLSA’s overtime provisions.

   Defendants failed to pay Plaintiff one-and-one-half times her regular rate of

   pay for each hour worked over forty in a workweek.
       Case 5:21-cv-00284-TES Document 1 Filed 08/09/21 Page 6 of 8



27. Defendant’s violation of the FLSA was not based on good faith and showed

     reckless disregard for the fact that Defendant’s failure to pay Plaintiff

     appropriate overtime compensation was in violation of the law.


III.      Prayer for Relief

WHEREFORE, Plaintiff, individually and on behalf of all other similarly situated

persons (Managers), pursuant to §216(b) of the FLSA, prays for the following

relief:

1.        At the earliest possible time, they be allowed to give notice to all

Defendant’s, and their predecessor’s in interest, employees in all locations during

the three years immediately preceding the filing of this suit, to all other potential

Plaintiff who may be similarly situated informing them that this action has been

filed, the nature of the action, and of their right to opt-into this lawsuit if they

worked overtime but were not paid compensation and benefits pursuant to 29

U.S.C. §216(b);

2.        Plaintiff, and all other potential Plaintiffs, be awarded damages in the

amount of their respective unpaid compensation and benefits, plus an equal

amount of liquidated damages pursuant to 29 U.S.C. §216(b), and/or

prejudgment interest;

3.        Plaintiff’s and all other potential Plaintiffs’ reasonable attorneys’ fees,

including the costs and expenses of this action; and
         Case 5:21-cv-00284-TES Document 1 Filed 08/09/21 Page 7 of 8



4.        Such other legal and equitable relief including, but not limited to, any

injunctive and/or declaratory relief, to which they may be entitled.

5.        Enter an Order requiring Defendant to make Plaintiff, Northern, whole by

awarding her lost wages (plus interest), liquidated damages, attorney’s fees and

costs.

WHEREFORE, Plaintiff prays for the following relief:


IV.      Jury Demand

THE PLAINTIFF DEMANDS A JURY TRIAL

                           Respectfully submitted this 9th day of August, 2021,

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Case 5:21-cv-00284-TES Document 1 Filed 08/09/21 Page 8 of 8



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